 

Case: 1:03-cv-O7888 Document #: 1 Filed: 11/06/03 Page 1 of 8 Page|D #:1

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THOMAS GONRADi. § ii 1` ' ‘r

   

v \., L,‘ ,`" , )
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Plaintifi`, )
)
V_ ) Judge "" '
) JUDGE RONALD ce':::-'s'
OFFICERS JOHN DOE 1-4, ) Jlll‘y D€maH m,\
individually, ) .~\o:em,»"-.TE JUDGE N.ULAN
)
Defendants. )
Q_Q_.M_P_lé_l§l

NOW COMES the Plaintiff`, THOMAS CONRAD, by and through his attorneys,
GREGORY E_ KULIS AND ASSOCIATES, and complaining against the Defendants,
OFFICERS JOHN DOE 1-4, individually, as follows:

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COUNT I -EXGESSI¥E-FGB:€E

1. This action is brought p&::».rsuant to the Laws of the United States Constitution,
speciiically 42 U.S.C. §1983 and §1988, and the Laws of the State of Illinois, to redress
deprivations of the Civil Rights of the Plaintiff, THOMAS CONRAD, and accomplished by acts
and/or omissions of the Defendants, OFFICERS JOHN DOE 1-4, committed under color of law.

2. ]nrisdiction is based on Title 28 U.S.C. §1331 and §1343.

3_ The Plaintiff, THOMAS CONRAD, at all relevant times was a resident of the

`\siate ofnlinois_

4. The Defendants, OFFICERS JOHN DOE 1-4, at all relevant times Were acting

under color of law and Within theirl scope as officers for the Chicago Police Department.

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5. On or about ]une 2003, the Plaintiff, THOMAS CONRAD, was in his bar at 5958
S. Pulaski when the Defendants, OFFICERS JOHN DOE 1-4, walked in and began to search the
premises l

6. There was no probable cause to search the premises

7 . The Defendants, OFFICERS JOHN DOE 1-4, searched behind the bar.

8. The Defendants, OFFICERS JOHN DOE 1-4. searched the coolers.

9. The Defendants, OFFICERS JOHN DOE 1-4, searched the Plaintiff, THOMAS
CONRAD’S, private office

lO. The Defendants, OFFICERS JOHN DOE 1-4, searched the Plaintifi`, THOMAS
CONRAD’S private safe. n

ll_ One of the Defendants, OFFICERS JOHN DOE 1-4, without just cause or
provocation tool§ and stole approximately three hundred ($3 00_00) dollars from the Plaintifl`,
THOMAS CONRAD’S; safe.

12. The Defendants, OFFICERS JOHN DOE 1-4, closed the Plaintiff, THOMAS
CONRAD’S. Bar.

13. The search was and excessive

14. The actions of the Defendants, OFFICERS JOHN DOE 1-4, in closing the bar
were unreasonablel

15. The actions of the Defendants, OFFICERS JOHN DOE 1-4, were intentional,
willful and vvanton.

16_ The actions of the Defendants, OFFlCERS JOHN DOE 1-4, violated the Plaintiff,
THOMAS CONRAD’S, Fourth and Fourteenth Arnendment R.ights of the United States

Constitution and were in violation of said rights protected by 42 U.S.C. §1983.

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17. As a direct and proximate consequence of said conduct of the Defendants,
OFFICERS JOHN DOE 1-4, the Plaintiff, THOMAS CONRAD, suffered violations of his
constitutional rights, emotional anxiety, monetary loss, fear and insult.

WHEREFORE the Plaintiif, THOMAS CONRAD, prays for judgment against the
Defendants, OFFICERS JOI-lN DOE 1-4, for compensatory damages of TWENTY-FIVE
THOUSAND 00/ 100 ($25,000.00) DOLLARS, plus punitive damages of TWENTY-FIVE
THOUSAND 00/ 100 ($25,000.00) DOLLARS, plus reasonable attorney’s fees and costs.

COUNT II -FALSE ARREST

1-6. The Plaintiff, 'I`HOMAS CONRAD, hereby reallege and incorporates his
allegations of paragraphs 1-6 of CountI as his respective allegations of paragraphs 1-6 of Count
II as though iillly set forth herein -

7_ The Defendants, OFFICERS JOHN DOE 1“4, without probable cause handcuffed
the Plaimia; rHoMAs CoNRAD;

8. Said action was

9. The Plaintiff, THOMAS CONRAD, was not free to go.

10. The Plaintiff, THOMAS CONRAD, was held in custody for several hours.

ll. The actions of the Defendants, OFFICERS JOHN DOE 1-4, were intentional,
willful and wanton

12_ As a result of the actions of the Defendants, OFFICERS JOHN D()E 1-4, the
Plaintiff, THOMAS CONRAD, suffered fear, anxiety, emotional distress, pain and suffering

13l The actions of the Defendants, OFFICERS JOHN DOE 1-4, violated the Plaintitl;`,
THOMAS CONRAD’S, Fourth Arnendment rights as protected by the United States Constitution

and 42 U_s.C. §1983.

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WHEREFORE the Plaintilf, THOMAS CONRAD, prays for judgment against the
Defendants, OFFICERS JOHN DOE 1-4, for compensatory damages of TWENTY-FIVE
THOUSAND 00/ 100 ($25,000.00) DOLLARS, plus punitive damages of TWENTY-FIVE
THOUSAND OO/ 100 ($25,000_00) DOLLARS, plus reasonable attorney’s fees and costsl

COUNT IH - ILLEGAL SEARCH OF CAR AND HOME

1-9. The Plaintiff, THOMAS CONRAD, hereby reallege and incorporates his
allegations of paragraphs 1-9 of Count II as his respective allegations of paragraphs 1-9 of Count
III as though fully set forth herein

lO. After taking the Plaintiff, THOMAS CONRAD, into custody and in handcuffs, one
of more of the Defendants, OFFICERS JOHN DOE 1-4, searched the Plaintitf' s automobile

ll. The Defendants, OFFICERS JOHN DOE 1-4, then transported the Plaintiff,
THOMAS CONRAD, to his home in Oak Lawn.

12. The Defendants, OFFICERS JOHN DOE 1-4, had no probable cause to search the
Plaintiff, THOMAS CONRAD’S house.

13. The Defendants, OFFICERS JOHN DOE 1-4, had no probable cause to enter
and/or search the Plaintiff, THOMAS CONRAD’S house.

l4. The actions of the Defendants, OFFICERS JOHN DOE l--4, Were intentional,
willfbl and wanton

15. As a result of the actions of the Defendants, OFFICERS JOHN DOE 1-4, suffered
a violation of his Fourth Amendment rights as protected by the United States Constitution and 42
U.S.C. §1983.

16. As a result of the actions of the Defendants, OFFICERS JOHN DOE 1-4, the

Plaintiff, THOMAS CONRAD, suffered fear, anxiety, emotional distress, monetary loss and fear.

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WHEREFORE the Plaintiif, THOMAS CONRAD, prays for judgment against the
Defendants, OFFICERS JOHN DOE 1-4, for compensatory damages of TWENTY-FIVE
THOUSAND 00/100 (525,000.00) DOLLARS, plus punitive damages of TWENTY-FIVE
THOUSAND 00/ 100 ($25,000.00) DOLLARS, plus reasonable attorney’s fees and costs.

COUNT IV - VIOLATION_ ()F FOR VIOL_A_TION OF HIS PROPERTY

1-13. The Plaintiff, THOMAS CONRAD, hereby reallege and incorporates his
allegations of paragraphs 1-13 of Count III as his respective allegations of paragraphs 1-13 of
Count IV as though fully set forth herein

14. During the day, the Defendants, OFFICERS JOHN DOE 1-4, searched the
Plaintiff, THOMAS CONRAD’S, bar, office, safe, car and house, violating his property rights

15_ The Defendants, OFFICERS JOHN DOE 1-4, without any probable cause or legal
justification took approximately three hundred ($3 00.00) dollars from the Plaintiff, THOMAS
CONRAD’S, safe in his office. j

16. rld`he Defendants, OFFICERS JOHN DOE 1-4, without any probable cause or legal
justification took an old gun from the Plaintiff, THOMAS CONRAD’S, home in Oak Lawn

17. The Defendants, OFFICERS JOHN DOE 1-4, without any probable cause or legal
justification took approximately one thousand three hundred ($1,300.00) dollars li'orn the
Plaintiff, THOMAS CONRAD’S, home.

18. The actions of the Defendants, OFFICERS JOHN DOE 1-4, violated the Plaintiff,
THOMAS CONRAD’S, rights as protected by the Fourth Amendment of the United States
Constitution and 42 U.S.C. §1983.

WHEREFORE the Plaintiff, THOMAS CONRAD, prays for judgment against the

Defendants, OFFICERS JOHN DOE l-4, for compensatory damages of TWENTY-FIVE

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THOUSAND 00/ 100 ($25,000.00) DOLLARS, plus punitive damages of TWENTY-FIVE
THOUSAND 00/ 100 ($25,000,00) DOLLARS, plus reasonable attorney’s fees and costs.
JURY DEMAND
The Plaintiff, THOMAS CONRAD, requests a trial by jury.

Respectfully submitted,
THOMAS CONRAD,

§§ .»--\ ~»\ ‘?C`BIA.L~,
GREGORY E. KULIS

GREGORY E. KULIS AND ASSOCIATES
Attorneys for the Plaintiff

 

GREGORY KULIS AND ASSOCIATES
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Suite 2140

Chicago, Illinois 60602

(312) 580-1830

 

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THOMAS CONRAD

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COOK

DEFENDANTS

  

OFFICERS JOHN DOE ‘l-4

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(IN U.S. PLA|NT|FF CASES ONLY]

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APPEARANCES AF\E HEREBY F|LED B`( THE UNDERS|GNED AS ATTORNEY(S OR:

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